






COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS








IN RE:  DAVID PINSON,



                            Relator.

 


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No. 08-08-00339-CR



AN ORIGINAL PROCEEDING

		IN MANDAMUS





MEMORANDUM OPINION ON PETITION FOR WRIT OF MANDAMUS



	Relator, David Pinson, seeks a writ of mandamus to compel the County Clerk of El Paso
County "to file and bring to the attention of the appropriate county court his application for a writ
of habeas corpus . . . ."

	In order to obtain relief through a writ of mandamus, a relator must establish:  (1) no
other adequate remedy at law is available and (2) that the act he seeks to compel is ministerial. 
State ex rel. Young v. Sixth Judicial Dist. Court of Appeals at Texarkana, 236 S.W.3d 207, 210
(Tex.Crim.App. 2007).  An act is ministerial if it does not involve the exercise of any discretion. 
State ex rel. Hill v. Court of Appeals for the Fifth District, 34 S.W.3d 924, 927 (Tex.Crim.App.
2001).  Based on the petition and record provided, Mr. Pinson has not demonstrated he is entitled
to mandamus relief.  See Tex.R.App.P. 52.8.  We therefore deny mandamus relief.


January 29, 2009					                                                                         

							ANN CRAWFORD McCLURE, Justice

Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


